                          UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                  OAKLAND DIVISION

 IN RE:                                                                     CASE NO.: 24-40209
                                                                                  CHAPTER 7
 Theya Prakashini Kanagaratnam,
   Debtor.

 _________________________________/

                                  REQUEST FOR SERVICE
       PLEASE TAKE NOTICE THAT the undersigned hereby appears on behalf of U.S.
BANK TRUST NATIONAL ASSOCIATION NOT IN ITS INDIVIDUAL CAPACITY BUT
SOLELY AS OWNER TRUSTEE FOR RCF 2 ACQUISITION TRUST ("Secured Creditor").
Pursuant to Rule 2002 of the Federal Rules of Bankruptcy Procedure, the undersigned requests
all notices given or required to be given and all papers required to be served in this case to
creditors, any creditors committees, and any other parties-in-interest, be sent to and served upon
the undersigned and the following be added to the Court's Master Mailing List:
                  ROBERTSON, ANSCHUTZ, SCHNEID & CRANE LLP
                         13010 MORRIS ROAD, SUITE 450
                             ALPHARETTA, GA 30004

                                            Robertson, Anschutz, Schneid & Crane LLP
                                            Attorney for Secured Creditor
                                            1 Park Plaza, Suite 600
                                            Irvine, CA 92614
                                            Telephone: 470-321-7112
                                            Facsimile: 404-393-1425

                                            By: /s/Theron S. Covey
                                                Theron S. Covey
                                                Email: tcovey@raslg.com




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                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 19, 2024, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via United States Mail to the following:

THEYA PRAKASHINI KANAGARATNAM
2316 LAKESHORE AVENUE #16
OAKLAND, CA 94606

And via electronic mail to:

PAUL MANSDORF
1569 SOLANO AVE. #703
BERKELEY, CA 94707

OFFICE OF THE U.S. TRUSTEE/OAK
OFFICE OF THE UNITED STATES TRUSTEE
PHILLIP J. BURTON FEDERAL BUILDING
450 GOLDEN GATE AVE. 5TH FL., #05-0153
SAN FRANCISCO, CA 94102


                                                  By: /s/ Amber Matas




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